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                 IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

                                                      :
STEVEN BROWN, et al.,                                 :
                                                      :
        Plaintiffs,                                   : Case No.:
                                                      : 1:22-cv-00080-TSK
v.                                                    :
                                                      :
THE BUREAU OF ALCOHOL, TOBACCO,                       :
FIREARMS AND EXPLOSIVES, et al.,                      :
                                                      :
        Defendants.                                   :
                                                      :

     STATEMENT OF UNDISPUTED MATERIAL FACTS IN SUPPORT OF
           PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT


        Pursuant to Local Civil Rule 7.02, Plaintiffs submit this statement of

undisputed material facts in support of their motion for summary judgment, filed

concurrently:

     1. Plaintiff Brown is a citizen of Morgantown, West Virginia, over eighteen, but

        younger than twenty-one years old. He has never been charged with nor

        convicted of any offense that would prevent him from purchasing a handgun

        under all applicable laws. Nothing except his age prevents him from

        purchasing a handgun from a federal firearms licensee (“FFL”). Brown Decl.

        ¶¶ 1, 3-4.




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  2. Plaintiff Brown sought to purchase a handgun and handgun ammunition on

     two separate occasions and was denied those purchases based solely on his

     age. Brown Decl. ¶¶ 5-7, 9-10.

  3. Plaintiff Brown desires to purchase a handgun and handgun ammunition

     from an FFL. Brown Decl. ¶ 11.

  4. Plaintiff Weekley is a citizen of Parkersburg, West Virginia, over eighteen,

     but younger than twenty-one years old. He has never been charged with nor

     convicted of any offense that would prevent him from purchasing a handgun

     under all applicable laws. Nothing except his age prevents him from

     purchasing a handgun from a federal firearms licensee (“FFL”). Weekley

     Decl. ¶¶ 1, 3-4.

  5. Plaintiff Weekley sought to purchase a handgun and was denied that

     purchase based solely on his age. Weekley Decl. ¶¶ 5-8.

  6. Plaintiff Weekley desires to purchase a handgun and handgun ammunition

     from an FFL. Weekley Decl. ¶ 10.

  7. Plaintiff West Virginia Citizens Defense League (the “Organizational

     Plaintiff”) is a nonprofit organization dedicated to promoting the right to keep

     and bear arms. Its members include West Virginia residents between the

     ages of eighteen and twenty-one who would purchase handguns from FFLs if

     not for the laws and regulations at issue in this case and FFLs who would sell

     handguns and handgun ammunition to individuals 18-to-20-years-old but for

     the laws and regulations at issue in this case. Masters Decl. ¶¶ 7,9.

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  8. Plaintiffs Brown and Weekley are members of the Organizational Plaintiffs.

     Brown Decl. ¶ 2; Weekley Decl. ¶ 2; Masters Decl. ¶ 6.




  Dated: January 3, 2023                   Respectfully submitted,


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